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                                       UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA

       Angela E. Noble                                                                               400 North Miami Avenue, Suite 8N09
Court Administrator • Clerk of Court                                                                           Miami, Florida 33128-7716
                                                                                                                    (305) 523-5100

                                                           August 6, 2020


         Peter Steciuk, Esq.
         US Department of Justice
         1400 New York Avenue NW
         Washington, DC 20005

         Dear Counsel:

                 As you know, your name appears on the service list of a document filed with this Court in
         case #20-CV-23278-MGC. Our records, however, indicate that you are not a member of the
         Southern District of Florida Bar. Pursuant to Local Rule 4(b) of the Rules Governing the
         Admission, Practice, Peer Review, and Discipline of Attorneys, only members of the Bar of this
         District may appear as attorneys in this Court except when appearance pro hac vice is permitted by
         the Court.

                 In order to appear and participate in a particular case in this Court, you must be an attorney
         who is a member in good standing of the bar of any United States Court, or of the highest Court of
         any State or Territory or Insular Possession of the United States. You are then required to file a
         written application, filed by counsel admitted to practice in this District, requesting permission to
         appear and participate in a particular case. A certification that you have studied this Court’s Local
         Rules shall accompany the application. If permission to appear pro hac vice is granted, such
         appearance shall not constitute formal admission or authorize you to file documents via CM/ECF.

                 The Rule also requires that the application designate a member of the Bar of this Court who
         is authorized to file through the Court’s electronic filing system, to act as local counsel with whom
         the Court and opposing counsel may readily communicate regarding the conduct of the case, upon
         whom filings shall be served, who shall be required to electronically file and serve all documents
         and things that may be filed and served electronically, and who shall be responsible for filing and
         serving documents in compliance with the CM/ECF Administrative Procedures. The Rule further
         requires that the application be accompanied by a written statement from local counsel consenting
         to the designation, and the address and telephone number of local counsel.

                 An attorney who is granted a pro hac vice appearance will not be permitted to register as a
         CM/ECF User in this District but may access the electronic record through the PACER System
         (see Section 7B of the Administrative Procedures on our website [www.flsd.uscourts.gov]).
         Attorneys so admitted will be required to electronically file and serve all documents through
         their local counsel. An application to appear pro hac vice must be filed by local counsel, along



             “It is our honor and duty to provide the support necessary to enable the Court as an institution to fulfill its
                           constitutional, statutory, and societal responsibilities for all who seek justice.”
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 with the applicable filing fee, via CM/ECF. Although attorneys granted pro hac vice appearance
 will not be permitted to file electronically, they will be able to electronically receive Notices of
 Electronic Filing. Such requests should be included in your application to appear pro hac vice and
 in the accompanying proposed order. The e-mail address for the attorney(s) seeking admission
 must be provided in both the motion and proposed order in order to receive electronic notices.

        Administrative Order 2020-9 provides that an admissions fee of $200.00 is to be paid by
 every attorney petitioning the Court to appear and participate in a particular case under Rule 4(b).

        A form motion for appearance pro hac vice can be downloaded from our website at
 www.flsd.uscourts.gov, Attorney Resources, Pro Hac Vice Appearance. If you have any
 questions, you may contact Attorney Admissions at (305) 523-5265 or the CM/ECF Help Desk at
 (888) 318-2260.

                                               Sincerely,

                                               ANGELA E. NOBLE
                                               Court Administrator • Clerk of Court

                                               by:    Deputy Clerk
                                                      Attorney Admissions

 c:     United States District Judge Marcia G. Cooke
        File
